          Case 2:09-cv-02654-MCE-DAD Document 11 Filed 12/01/09 Page 1 of 2


     Debbie P. Kirkpatrick, Esq. (SBN 207112)
 1
     Albert R. Limberg, Esq. (SBN 211110)
 2   SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
     3667 Voltaire Street
 3
     San Diego, CA 92106-1253
 4   Tel: 619/758-1891
     Fax: 619/222-3667
 5
     dpk@sessions-law.biz
 6   alimberg@sessions-law.biz
 7
     Attorney for NCO Financial Systems, Inc.
 8

 9                         UNITED STATES DISTRICT COURT

10
                          EASTERN DISTRICT OF CALIFORNIA

11
                                                     )
12
     MARY HENDERSON,                                 ) Case No. 09-CV-02654-MCE-DAD
                                                     )
13
                        Plaintiff,                   )
                                                     )
14
         vs.                                         ) STIPULATION TO DISMISS WITH
     NCO FINANCIAL SYSTEMS, INC.,                    )
15                                                   ) PREJUDICE; ORDER
                                                     )
                                                     )
16                      Defendant.                   )
17                                                   )
                                                     )
18                                                   )
19
           Plaintiff, MARY HENDERSON, filed the present action against NCO
20

21   FINANCIAL SYSTEMS, INC. (ANCO@) on September 22, 2009. NCO filed its
22
     responsive pleading on October 26, 2009. The parties subsequently resolved
23
     the action in its entirety. As part of said resolution, the parties agree to dismiss
24

25   the entire action with prejudice. The court is to retain jurisdiction for purposes of
26
     enforcement of the settlement.
27

28


                                     Stipulation to Dismiss With Prejudice

                                                      1
          Case 2:09-cv-02654-MCE-DAD Document 11 Filed 12/01/09 Page 2 of 2



 1
           IT IS HEREBY STIPULATED by and between the parties to this action

 2   through their designated counsel that the above captioned action is dismissed
 3
     with prejudice pursuant to Fed. R. Civ. Pro. 41.
 4

 5
     Dated:      11/25/09            SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 6
                              /s/Debbie P. Kirkpatrick
 7
                              Debbie P. Kirkpatrick,
 8                            Attorney for Defendant,
                              NCO Financial Systems, Inc.
 9

10

11
     Dated:      11/25/09            KROHN & MOSS, LTD.

12                            /s/ Nicholas J. Bontrager
13
                              Nicholas J. Bontrager,
                              Attorney for Plaintiff,
14                            Mary Henderson
15

16

17
     IT IS SO ORDERED. The Clerk of Court is directed to close the file.
18

19
     DATED: November 30, 2009
20

21
                                           _______________________________________
22                                         MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28


                                 Stipulation to Dismiss With Prejudice

                                                  2
